        Case 2:07-cr-00088-KJM Document 348 Filed 06/28/13 Page 1 of 2


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 8                                    UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           No. CR S-07-00088 KJM CKD P
12                       Plaintiff,
13           v.                                          ORDER
14   MARGARITO RAMIREZ CABALLERO,
15                       Defendant.
16

17           Movant, a federal prison proceeding pro se, has filed a motion to vacate, set aside, or

18   correct his sentence pursuant to 28 U.S.C. § 2255. Since movant may be entitled to the requested

19   relief if he can establish a violation of his constitutional rights, respondent is directed to file an

20   answer within thirty days of the effective date of this order. See Rule 4, Rules Governing Section

21   2255 Proceedings.

22           Respondent shall include with the answer any and all transcripts or other documents

23   relevant to the determination of the issues presented in the motion. See Rule 5, Rules Governing

24   Section 2255 Proceedings. Movant’s traverse, if any, is due on or before thirty days from the date

25   respondent’s answer is filed.

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       Case 2:07-cr-00088-KJM Document 348 Filed 06/28/13 Page 2 of 2


 1             The Clerk of the Court shall serve a copy of this order, together with a copy of movant’s

 2   motion on the United States Attorney or his authorized representative.

 3   Dated: June 27, 2013
                                                       _____________________________________
 4
                                                       CAROLYN K. DELANEY
 5                                                     UNITED STATES MAGISTRATE JUDGE

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 8   Ckd.206

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